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      UNITED STATES BANKRUPTCY COURT
      NORTHERN DISTRICT OF NEW YORK
      _______________________________________

      IN RE:

      HUDSON VALLEY CARE CENTERS, INC.,                           Case No. 05-16436
                                                                  Chapter 11

                                    Debtor.
      _______________________________________


           DEBTOR’S MOTION FOR AUTHORIZATION TO USE EXISTING
        DEPOSITORIES, BANK ACCOUNTS AND CASH MANAGEMENT SYSTEM


               Hudson Valley Care Centers, Inc. (the "Debtor"), by and through its counsel,

      O’Connell and Aronowitz, LLP, respectfully sets forth as follows:

               1.    On September 13, 2005, (the "Petition Date"), the Debtor filed a voluntary

      petition for relief under Chapter 11, Title 11, U.S.C. in the United States Bankruptcy

      Court for the Northern District of New York. Since the Petition Date, the Debtor has

      continued in the management and operation of its business and assets as a debtor in

      possession pursuant to 11 U.S.C. §§ 1107 and 1108.

               2.    The Debtor respectfully seeks an Order pursuant to 11 U.S.C. § 1051(a),

      and in accordance with the rights, powers and duties afforded a debtor in possession

      under 11 U.S.C. 2207, authorizing it to maintain its existing depositories, bank accounts

      and cash management system for the purposes of collecting customer payments and

      deposits and paying its post-petition obligations for the duration of its bankruptcy case,

      and granting such other relief as the Court deems just and proper.
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              3.     This Court has jurisdiction pursuant to 28 U.S.C. §§ 157 and 1334. The

      venue of these proceedings in his District is proper pursuant to 28 U.S.C. §§ 1408 and

      1409.

              4.     The Debtor is a New York corporation with its principal place of business

      located in Ghent, New York.

              5.     The Debtor owns and previously operated a one hundred twenty (120) bed

      skilled nursing facility known as Green Manor Nursing Home, forty (40) of which beds

      are certified as assisted living beds and a limited licensed home care agency located at

      premises known as Green Manor Health Care Complex (collectively, the "Facilities").

              6.     Prior to the Petition Date, the Debtor, in the ordinary course of its business

      maintained various depository, operating and payroll accounts (collectively, the

      "Accounts").

              7.     In addition to the foregoing, the Debtor has also established payroll

      accounts at Key Bank.

              8.     As set forth above, the Debtor seeks an Order pursuant to 11 U.S.C. §

      105(1) authorizing it to maintain the existing Accounts and cash management system

      during the duration of its bankruptcy case.

              9.      The accounts are necessary and essential to maintain the ordinary flow of

      funds to satisfy post-petition, ordinary course of business obligations without disruption,

      and to allow the Debtor to concentrate its efforts on successfully administering its

      Chapter 11 estate.

              10.     The Debtor submits that the significant expense, delay and confusion that

      would result if the existing Accounts are closed, and its need to maintain smooth
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      operations during the pendency of its bankruptcy case, far outweigh the administrative

      requirement that the Debtor close all existing bank accounts and establish new accounts.

             11.       The Debtor shall immediately rename all Accounts as "Debtor in

      Possession" accounts, and shall add the legend "Debtor in Possession" or "D.I.P." to all

      checks issued from the Accounts.

             WHEREFORE, based upon the foregoing, the Debtor respectfully requests that

      the Court issue an Order authorizing the Debtor to maintain its existing depositories,

      Accounts and cash management system, for purposes of making deposits and paying its

      post-petition obligations for the duration of the case, together with such other and further

      relief which the Court deems just and proper.


      Dated: Albany, New York
             September 13, 2005             O'CONNELL & ARONOWITZ


                                            By:_/s/ MICHAEL D. ASSAF_________
                                                   Michael D. Assaf, Esq.
                                            Attorneys for Debtor
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                                            Albany, New York 12207
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